                                                                                Motion GRANTED.

                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


UNITED STATES OF AMERICA                      )
                                              )       No. 3:09-cr-00161
                                              )
       v.                                     )       Judge Trauger
                                              )
PEDRO VASQUEZ-JERONIMO                        )

             MOTION TO DISMISS INDICTMENT WITHOUT PREJUDICE

       The United States of America, by and through Edward M. Yarbrough, United States

Attorney for the Middle District of Tennessee, and Brent A. Hannafan, Assistant United States

Attorney, respectfully requests this Court dismiss the pending indictment against the defendant

without prejudice.

       The defendant was charged in Count One of the second superseding indictment in Case

No. 3:09-00150, pending before Judge Campbell, with conspiring to distribute and possess with

intent to distribute five kilograms or more of cocaine, in violation of Title 21, U.S.C., Sections

841(a)(1) and 846. That is the same crime the defendant is charged with in Count One of the

indictment in this case. The defendant pleaded guilty to Count One of the second superseding

indictment in Case No. 3:09-00150 pursuant to a plea agreement with the United States, and that

plea was accepted by Judge Campbell on November 15, 2010.

       Pursuant to the parties’ plea agreement in Case No. 3:09-00150, the United States hereby

moves to dismiss the indictment against the defendant in this case. The United States moves to

dismiss the indictment without prejudice because the defendant has not been sentenced in Case

No. 3:09-00150.




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